                Case 17-40179       Doc 76-1     Filed 09/12/18     Entered 09/12/18 12:41:53   Desc Adversary proceeding cover sheet
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                        ADVERSARY PROCEEDING NUMBER
                                                                                                  (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                         DEFENDANTS
 Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum Inc.
                                                                                      Acme Energy Company, LLC, et al.


ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
Blake Hamm/Bryan Prentice/Aaron Guerrero
Snow Spence Green LLP; 2929 Allen Parkway, Suite 2800
Houston, TX 77019 713.335.4800
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □XOther
□XTrustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

 Action against general partners of partnership debtor to recover deficiency in estate assets to pay allowed claims 11 U.S.C. 723


                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                        □
    FRBP 7001(1) – Recovery of Money/Property                                      FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                                  □
                                                                                      61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                         □
                                                                                      68-Dischargeability - §523(a)(6), willful and malicious injury

□X 14-Recovery of money/property - other                                           □
                                                                                      63-Dischargeability - §523(a)(8), student loan
                                                                                      64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                   □
                                                                                         (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                               65-Dischargeability - other


                                                                                   □ 71-Injunctive relief – imposition of stay
                                                                                   FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)          □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                   □ 81-Subordination of claim or interest
                                                                                   FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                   □ 91-Declaratory judgment
                                                                                   FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                           if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                     □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                   Demand $          8,483,040.24
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                   BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                    BANKRUPTCY CASE NO.
 Payson Petroluem 3 Well, LP                       17-40179
DISTRICT IN WHICH CASE IS PENDING                 DIVISION OFFICE     NAME OF JUDGE
   Eastern                                           Sherman            Brenda T. Rhoades
                             RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                              DEFENDANT                      ADVERSARY
                                                                      PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                  DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                    PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                                           Blake Hamm for Plaintiff Jason R. Searcy, Chapter
        September 12, 2018
                                                                           11 Trustee for Payson Petroleum, Inc.



                                                          INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
